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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

JOHN DOE,                                                      :
                                                               : Civil Action No:
                                                               :
                       Plaintiff,                              :
                                                               :
                                                               :
                -against-                                      :
                                                               :
                                                               :
YALE UNIVERSITY, YALE UNIVERSITY                               :
BOARD OF TRUSTEES,                                             :
                                                               :
                                                               :
                       Defendants.                             :

                                                   ORDER

Now on this _____ day of ______________, 2018, upon consideration of Plaintiff’s Motion for

A Temporary Restraining Order and subsequent Preliminary Injunction, filed January 18, 2018,

IT IS HEREBY ORDERED that:

       1.       The motion is GRANTED to the extent provided below.

       2.       As of _________________, the Defendants are immediately enjoined from enforcing

their December 26, 2017 suspension of Plaintiff John Doe from Yale University.

       3.       As of _______________, the Defendants are immediately to allow access to the

Plaintiff John Doe to register for all classes for the Spring Semester which began on January 17,

2018. Plaintiff John Doe is permitted to participate fully in all University activities.

       4.       The Court finds that Plaintiff John Doe has met the required showing

necessitating the granting of the injunctive relief south pursuant to Rue 65 of the Federal Rules

of Civil Procedure, in that (i) the probability of irreparable harm to the Plaintiff is present should

the relief not be granted, (ii) there is a likelihood of success that the Plaintiff will succeed on the
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merits or in the alternative, there are demonstrated sufficiently serious questions going to the

merits to make them a fair ground of litigation, (iii) the balance of hardships tips decidedly in the

moving party’s favor regardless of the likelihood of success on the merits, and (iv) the relief

issued is in the public interest.

         5. The Order remains in effect until any further Order of this Court is issued on the
            Motion.



                                                              BY THE COURT

                                                              ________________________
                                                              United State District Judge




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